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                                       UNITED STATES DISTRICT COURT

                                    EASTERN DISTRICT OF CALIFORNIA



UNITED STATES,                                                         Case No. 2:16-cr-00038-MCE
       Plaintiff/Respondent,


  v.                                                                   ORDER


Brian Stone,
       Defendant/Petitioner.




          Good cause appearing pursuant to the Criminal Justice Act, the Court appoints Krista Hart to

represent Brian Stone on the appeal to the Ninth Circuit Court of Appeals. Attorney John Manning is

relieved for purposes of the appeal.

          IT IS SO ORDERED.

Dated: October 3, 2018
